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®AO83 (Rev. 12/85) Summons in a Criminal Case

UNITED STATES DISTRICT COURT

 

DISTRICT OF Massachusetts
UNITED STATES OF AMERICA
V. SUMMONS IN A CRIMINAL CASE
Bryan Fitzpatrick Case Number: 11CR10018-RWZ

c/o Cole’s Place
401 Liberty Street

Springfield, MA 01104
(Name and Address of Defendant)

YOU ARE HEREBY SUMMONED to appear before the United States District Court at the place, date and time set
forth below.

 

 

 

Place Room

United States District Court

One Courthouse Way Courtroom # 12, 5 Floor
Boston, MA, 02210 Date and Time

Before: Judge Zobel 6/6/19 @ 2:30 P.M.

To answer a(n)

CJ Indictment Information OJ Complaint Violation Notice LJ Probation Violation Petition
Charging you with a violation of Title 18 United States Code, Section(s) 3603

 

Brief description of offense:

Failure to stay away from Narcotics; failure to reside in a mental health and substance abuse treatment center; and failure to
participate in substance abuse counseling;

as ey) /Ns

 

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